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      EXHIBIT 10
4/1/2020          Baicells Technologies Nova 436Q Granted Part 96 Certification by the FCC – LTE small cell solutions promoting non-line of sight fixed wir…

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    Baicells Technologies is proud to announce that the MBS31001, better known as the
    Nova 436Q has been granted Part 96 Certi cation by the FCC. The Nova 436Q is an
    advanced two-carrier outdoor eNodeB (eNB) that is compliant with 3GPP LTE TDD
    technology. This 4x1W eNB is capable of operating in Carrier Aggregation (CA) mode or
    Dual Carrier (DC) mode.




    The Nova 436Q Carrier Aggregation mode doubles the downlink capacity over previous
    models. Nova 436Q supports CBRS Band 48, as well as Bands 42 and 43. The 436Q is a
    multi-use LTE eNodeB, allowing operators exibility to adjust con gurations for di ering
    deployment needs and current local market demands. Baicells patented HaloB onboard
    EPC is now an included feature on the Nova 436Q.




    Baicells can now progress forward with ICD testing for CBRS with various operators.

    Baicells expects additional products will be granted Part 96 certi cation by the end of the
    year.




https://na.baicells.com/news-posts/baicells-technologies-nova-436q-granted-part-96-certification-by-the-fcc/                                             1/2
4/1/2020          Baicells Technologies Nova 436Q Granted Part 96 Certification by the FCC – LTE small cell solutions promoting non-line of sight fixed wir…

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